Case 2:15-ml-02668-PSG-SK Document 765-5 Filed 12/06/22 Page 1 of 3 Page ID
                                #:24431




                 EXHIBIT 2
                      to
                Declaration of
                Edward Diver
Case 2:15-ml-02668-PSG-SK Document 765-5 Filed 12/06/22 Page 2 of 3 Page ID
                                #:24432
          Case i:12-cv-01817-SAS Document 113                    Filed 01/28/13 Page 19 of 19




                                                EXHIBIT A

    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                         )
    THOMAS LAUMANN, ROBERT SIL VER,                      )
    GARRETT TRAUB, and DAVID DILLON,                     )
    representing themselves and all others similarly     )
    situated,                                            )        I 2-cv-1817 (SAS)
                                                         )
                                  Plaintiffs,            )
                                                         )
                   v.                                    )
                                                         )
    NATIONAL HOCKEY LEAGUE et al.,                       )
                                                         )
                                  Defendants.            )


           I have read and understand the foregoing Stipulated Protective Order entered in the

    above-captioned action. I hereby undertake and agree to abide by the terms of the Stipulated

    Protective Order. I understand that unauthorized disclosure of documents or information

    governed by the Stipulated Protective Order would constitute a violation of the Stipulated

    Protective Order and constitute contempt of court. Solely for purposes of enforcement of the

    Stipulated Protective Order as part of this action, I hereby consent to the exercise of personal

    jurisdiction over me by the United States District Court for the Southern District of New York.




                                                             y~YvR
                                          Agreed and accepted:

                                          Byjj/&
                                          Name (please print):    ~.1            V KOi. L V

                                          Position/Title:
                                                             --------------
Case 2:15-ml-02668-PSG-SK Document 765-5 Filed 12/06/22 Page 3 of 3 Page ID
                                #:24433
          Case 1:12-cv-03704-SAS Document 130                  Filed 01/28/13 Page 19 of 19




                                                EXHIBIT A

    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                         )
    MARC LERNER, DEREK RASMUSSEN, and                    )
    GARRETT TRAUB, representing themselves               )
    and all others similarly situated,                   )        l 2-cv-3704 (SAS)
                                                         )
                                  Plaintiffs,            )
                                                         )
                   V.                                    )
                                                         )
    OFFICE OF THE COMMISSIONER OF                        )
    BASEBALL. et al.,                                    )
                                                         )
                                  Defendants.            )


           I have read and understand the foregoing Stipulated Protective Order entered in the

    above-captioned action. I hereby undertake and agree to abide by the terms of the Stipulated

    Protective Order. I understand that unauthorized disclosure of documents or information

    governed by the Stipulated Protective Order would constitute a violation of the Stipulated

    Protective Order and constitute contempt of court. Solely for purposes of enforcement of the

    Stipulated Protective Order as part of this action, I hereby consent to the exercise of personal

    jurisdiction over me by the United States District Court for the Southern District of New York.



                                          Agreed and accepte ·

                                          By:    ~~

                                          Position/Title:
                                                             --------------
